Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 1 of 23



                         UM TED STATES DISTRICT COURT
                         SO U TH E RN D ISTRICT O F FLO R IDA
                          'FO R T LAU D E RD ALE DM SION   .   .



                          CASE NO.19-62949-CW -RN5 (SEITZ)
   FEA N CISCO JAW ER PEREZ RAM ON ES,

         Plaintx ,

   V.

   AR RESO UR CES,IN C.,


         Defendant.
    .
                                      /


   M embersofthejtuy:
         It'snow m # duty toinstructyou on therulesoflaw thatyou m ustfollow in
   deciding tM s case.

         Each oneofyou hasyom'own individualcopy ofthejua'y instructionson yotzr
  seat. Ypu can read alongwith m eoryou can justhsten.You alsocan write on it.
  Thisisyou'
           rpersonalcopy ofthejury instructionsforyou to haveforthe iestofthe
  trialto assistin reaching yotzrverdict.

         After rve com pleted these instructions,you willheat counsels'closing

  argum ents. Once counselhave com pleted theg r gum ents,Iw illinstruct you to go

  to thejuzy room and begin yottrdiscussions- whatwecallyom deliberations.
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 2 of 23



                   D uty to Follow lnstructions - C orporate P arty Involved

           Youz decision m ust be based only on the evidence presented here.You m ust

   notbeiM uenced in any way by eithersympathy fororprejudiceagainstanyone.
           You m ustfollow the 1aw as Iexplain it- even ifyou do not ar ee w ith the law

   -   and you m ust follow allofm y instructions as a w hole.You m ust not single out or

   disregard any ofthe instructions on the law .

           The factthat a corporation isinvolved asa party m ust notafectyour decisipn
                                                                              .




   in ary w ay.A corporation and.allotherpersons stand equalbefore the 1aw and.m ust

   bedealtwith asequalsin acom tofjustice.W hen acorporation isinvolved,ofcom se, '
   it m ay act only through people as its em ployees;and,in general, a corporation is

  'responsible under the law forthe acts and statem entsofitsem ployees thatare m ade

   within the scope oftheir duties as em ployeesofthe com pany.




                                             2
'




        Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 3 of 23
    /




                  Consideration of D irect and Circum stantial Evidence;A rgum ent of
                  Counsel;Com m ents by the Court

                 A s I said before,you m ust consider only the evidence thatI have adm itted in

           the case. Evidence includes the testim ony of witnesses and the exhibits adm itted.

           Butanything the lawyers say isnotevidence and is not binding on you.

                 You shod d notassllme 9om anl hingFve said thatIhave any opizlions about
           any factualissuein thiscase.Exceptform y instructionstoyou on thelaw ,you should

           disregaz'd anything Im ay have said dtu'
                                                  ing the trialin arriving atyottrown decisionà

           aboutthe facts.

                 You,
                    r ow n recollection and interpretation ofthe evidence isw hat m atters.

                 In consideringthe evidence,you m ay usereasoning and com m on sensetom ake         .




           deductions and reach conclusions. Y ou shouldn't be concerned about w hether the

           evidence is dizector circAnm stantial.

                 TfDia'ect evidence''is the testim ony ofa person w ho asserts that he or she has

           actualknow ledge ofa fact,such as an eyewitness.

                 dtcireum stantial evidence''is proof of a chain of facts and cbcum stances that

          tend to prove or disprove a fact. There's no legal difference in the w eight you m ay ,




          give to either direct orcircum stantialevidence.




                                                    3
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 4 of 23



                                            Stipulations

          Som etim esthe partieshave ar eed thatcertain facts aretrue. Thisagreem ent

   IS called a stipG   ation.No G tnessesorexhibits aa'ereqAaimed toprove thesefacts.You

   m usttreatthese facts asproved fortlliscase.

         The partieshave stipulated to seventy (70)facts. You have been provided a
   copy ofthose stipi ations.




                                              4
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 5 of 23



                                  Credibility ofW itnesses

         W hen Isay you m ust consider allthe evidence,I don'tm ean thatyou m ust

   accept allthe evidence as true or accm ate. You shotlld decide w hether you believe

   whateach witness had to say,and how im portantthattestim ony w as. ln m nking

   that decision you m ay believe or disbelieve any w itness,in w hole orin part. The

   nllm berofwitnesses testifying concerzling a particular point doesn'
                                                                      tnecessart
                                                                               'ly

   m atter.

         To decide whetheryou believe any witnessI suggestthatyou ask yottrselfa

   few questions'
                .
         @
              Did the w itness G pressyou as one who w astelling the truth?
         *
              Did the w itness have any partictzlarreason notto tellthe truth?
         *
             Did the witnegs have a personalinterestin the ontcom e ofthe case?
         .   Did the witness seem to have a good m em ory?
         *
             Did the witnesshave the opportunity and ability to accm ately obselwe the

   things he or she testo ed about?
         .   Did thé w itness apper to u derstand the questions clearly and answ er

  them O ectly?
         *
             Did the witness'stestim ony dsffer 9 om other testim ony or other evidence?




                                              5
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 6 of 23



          Im peachm ent ofW itnesses B ecause oflnconsistent Statem ents

         You should also ask yoc selfw hetherthere w as evidence thata w itness

   testG ed falsely about an im portantfact. And ask whetherthere w asevidence that

   at som e othertim e a witnesssaid or did som etM ng,or didn'tsay or do som ething,

   thatw as different9 om the testim ony the witness gave dm ing this trial.

         But keep i'
                   n m ind thata sim ple m istake doesn'tm ean a witnessw asn'ttelling

   thetruth ashe orshe rem embersit. People natm atly tend toforgetsom ethings or

   rem em ber them inaccurately. So,ifa witnessm isstated som ething,you m ustdecide

   whether it w as because of an innocentlapse in m em ory or an intentionaldeception.

   The sir ilcance ofyom decision m ay depend on w hetherthe m isstatem entis about

   an im portant fact or aboutan unim portantdetail.




                                            6
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 7 of 23



                                     A bsentw itness

         W hen awitnessispeculiarly within the conkolofone party and the witness'

   testim ony w ould be relevantto factsin issue,the party's failure to presenttestim ony

   âom thatwiG ess,m ay @'ve dse to an inference thatthe witness'testim ony w ould

   havebeenVfavorabletothatparty.




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    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 8 of 23



Z                                     Us
                                       eo
                                        fDe
                                          po
                                           s
                                           i
                                           t
                                           io
                                            ns
             Dllring this trial,the depositionsofcertnin witnessesw ere presented to you

       by reading the transcript.Deposition testM ony is entitled to the sam e

       consideration aslivetestimony,and you mustjudgeitin the sam eway asifthe
       witnessw astestifyi'
                          ng in com 't.




                                                8
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 9 of 23



r                                 Re
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                                        :
                                        No
                                         t
                                         e
                                         ta
                                          ki
                                           ng
             You've been perm itted to take notes dm ing the trial. M ost ofyou,perhaps all

       ofyou,have taken advantageofthatopportunity.You m ust use your notesonly as a

       m em ory aide dm ing your deliberations. You m ust not give yottr notes priority over

       yom 'independentrecollection ofthe evidence. And you m ustnotallow yottrsel to be

       und'
          ulyinfluencedbythenotesofotherjm ors.Iemphasizethatnotesarenotentitled
       to any greater weightthan yom m em ories or im pressions aboutthe testim ony.




                                                9
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 10 of 23



        R esponsibility for Proof- Plaintiffs Claim - Greater W eight ofthe
                                     Evidence

         In this case,itisthe responsibG ty ofFranciscoJavier Perez Ram onesto prove

   every essentialpartofhis claim that he slafered injm.y when AR Resom ces,Inc.,
   violatedtheFairCreditReportingActCFCRA''Iby atfgreaterweightoftheevidence.''
   TM s is som etim es called the tfbm den ofproof'orthe tdburden ofpersuasion.''

         A T<greater weight ofthe evidence''sim ply m eansan nm ountofevidence thatis

   enough to persuade you thatM r.Ram ones'claim ism ore likely true than nottrue.

         Ifthe prooffails to establish any essentialpart ofa cb im or contention by a

     eaterweightoft2eevidence,you shouldlndagainstM.
                                                   r.Ramones.
         In deciding whether any factias been proved by a greater weight ofthe
   evidence,you m ay consider the testim ony of allofthe witnesseà,regarf ess ofwho

   m ay have called them ,and allofthe exhibits received in evidence,regr dless ofw ho

   m ay have produced them .

         If the proof fails to establish any essential part ofM .
                                                                r.Ram ones'claim by a

   greater w eight of the evidence,you shottld fm d for AR Resom ces,Inc.,as to that

   claim .




                                            10
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 11 of 23



N                                  Re
                                    qui
                                      r
                                      e
                                      me
                                       nt
                                        so
                                         ft
                                          heFCRA
             The Fair Credit Reporting A ct reqlaires that credit reporting agencies,and

       furnishers of iM orm ation like D efendant AR Resom ces, Incw adopt reasonable

       procedures for nleeting the needs of conlnaerce for consurner credït, personnel,

       insm ance, and other inform ation in a m anner w llich is'fair and eqG table to the

       consum er,w ith regard to cou dentiality,accuracy,relevancy,and proper utilization

       ofsuch inform ation in accordance w ith the reqllirem ents ofthisAct.

             The reqllirem ents ofthe Fair Credit Reporting Act applicable in tllis case are '.




       as follow s:

             Afker receiving notice of a consum er dispute from one of the credit reporting

       agencies,a farnisher ofinform ation,like DefendantAR Resourceb,Inc.,m ust:

                      (1)conductan iM&
                                    nvestigation with respecttothe disputed inform ation;
                      (2)reW e allrelevantinform ation providedby the consum erreporting
                      agency in connection w ith the dispute;and,

                      (3)reportthe resultsoftheinvestigation tothe consAlm erreporting
                      agency.

             The second requirem entoftheFair CreditReportingActapplicablein thiscase

       is as follow s: If an item of inform ation disputed by a consum er is found to be

       inaccurate or inconlplete or cannot be verG ed after any investigation, then AR

       Resom ces, as the furnisher of that inform ation m ust: (1) modify that item of
       inform ation; (2) delete that item of inform ation; or (3) perm anently block the
       reporting ofthatitem ofinform ation.
 Case
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      0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 12 of 23


Z -Th
    i           s Com thas already fotm d thatthe DefendantAR Resources,Inc.- fqi
                                                                                sled to
    undertake a reasonable investigation ofthe Plnintis s account disputes. You m ust

    takethis determ ination asto hability asestablished and notsecond gazessthe Court's

    conclusion on this issue.
         '

             As such,you'
                        rsole responsibG ty in thism atteris to determ ine:
                          )
                . W hat, zf any, actual dam ages the Plainte sustained because of the

                   Defendant's fa/tu.e to undertake a reasonable investigation of the

                   Plaintx s disputes;

                . W hether the Defendantw as negligentor w7
                                                          'llf1llin fnilin to undertake

                   a reasonable investi ation,an

                                                       'llf3ll, w hether an aw ard of
                . If you fm d Defendant's failm e was w7
                                                                  =            .   .

                statutory and puu tive dam ag-tt-
                                                iM pw opriate.
                     VN             . .-
          The next tH ee pages willassist you in determ ining whether the D efendant's

    failm : to u dertake a reasonable investigation was sim ply negligent, w hich

    precludes an aw ard of puG tive dam ages, or willfnl,w hich allow s, but does not

    reqlnime,thejurytoawardpl7nitive dam ages.




                                              12
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 13 of 23


K                                                  D efinitions

       Neeliaent Conduct:

               A person or entit'
                                y actsnegligently ifthe person or entit'y failsto do som etbing

       that a reasonably prudent person w oG d do or does sonaet%ing that a reasonably

       prudentperson wotzld not do,underthe circum stances thatexisted.



       W ill'
            r=lConduct:               âld 2*'
                                            i0--3150.,n
                                               ,
                                                           &f y.w y A-c ''r Jccvzl
               W illFallm eansthatD efendantintentionally perform ed an actthatviolates the

       FG Crectit Reporting Act,and it did so either w ith knowledge that its act violated

       the Fa9 Credit Reporting A ct,or in reckless disregard ofthe Fair Credit Reporting

       Act.

               ïfReckless disregard''m eans an Raction entailing 1an unjustG ably lkigh risk of
       harm that is either known or so obvious that it shotlld be known.''' You do notneed

       toH d thatDefendantactjd- ît
                                  r m G ce-oran-au -motive-Gœrdentu M dthatitacted
                           - .-- ..- -'- ' -                                         .w .- -- . .
           .



       Wz
        'ttfuxy.




                                                          13
 Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 14 of 23


P -                    D uty to Conduct a R easonable Investigation

           As I said earlier, tm der the Fair Credit Reporting Act, Credit Reporting

    Agencies,such as Trans Union and Experian,and entities thatftzrxlish inform ation

    to consum er reporting agencies,such as the Defendant, are reqllimed to conduct a

    reasonable investigation of disputed iH orm ation. Thus w hen a Credit Reporting

    A gency receives a dispute,the Credit Reporting A gency m ust notify Defendant as

    ftlrnisher of that inform ation that the inform ation has been disputed and the

    Defendantfurnisher m ustthen undqrtake a reasonable investigation to determ ine if

    the inform ation is accm ate or 1-1instead it is inaccm ate or incom plete or cannpt be

    verG ed.

          W here the latter occm s,the fm nisher such as D efendant AR Resom ces,Inc.,

    m ust m odify,delete,or perm anently block the reporting,and the Credit Reporting

    Agency m usttm dertake a si-m ilar action.W hether an investigation isreasonablew ill

    vary depending on the circum stances of the case as w ell as the status of the

    furnisher- as an originai creditor, a collection agency collecting on behalf of the

    original creditor,a debt buyer,or a down-the-line buyer and on the quality ofthe

    docllm entation available to the fm nisher.

          Verilcation ofdisputed inform ation requires som e degree ofcaref'
                                                                           ulinqtur
                                                                                  'y by
                                                                   .''-                                             - '- -x v
                                                                                                                              ..

    fm nishers ofM orm ation,suc-h a-a-D-
                                    * .m= *
                                            Q' IJdAnt,and when a furzzisherdoesnot.'
                                             fQ- .-            -      -            é'h'eady
                                       -           ..-,.
                                            - l-. .c   g!     ..--.........
                                                         r..-.-                .   ..-ysm ....-.....w
                                                  a                                                             .    .. .
                                                                                                                            . ..
                                                                                                                                   .              .. . .
    POSSOSS OVidOnCe OstabXshing iha.i an Rom 0fY SPViO: 1
                                                         011Orm ation iS truo)ihz VY9
                                                                                           - - - -
                                                                                                     .- ,
                                                                                                        w   .
            Jw-.
               .--s
                  -- . ..--------                                                                           --'---..
                                                                                                                   x -- -              - -.
                                                                                                                                              .

    CreclifzR eportzng A ct requires the furnisher to seek out and
                                                                 - '>
                                                                      obtain such evidbnce       '' '
                                       .-                                                             <<                             .'
                   . .. e - . .. ''e                                                                        ' < '' - .- . ' '- .. ' '


    before reporting the inform ation asverG ed. Under certain clcum stancesitw illnot


                                                                          14
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 15 of 23


W      be reasonable for a furaisher to sim ply look at the inform ation contained in its own
                                                                                   .




       system sw hen undertaking an investigation under the Fair Credit Reporting A ct.

             The Faiz Credit Reporting A ct does not im pose an undG y bm densom e

       investigation reqllimem ent on fllrnishers; rather it presents them with a choice

       regarding how they handle disputed inform ation.

             First, a farnisher can cpnduct a Teasonable investigation by, am ong other
              R=       .


       things,uncovering docum entary evidence which allow s them to verz
                                                                        'fy the disputed

       ie orm ation apd report to the consum er'reporting agencies that the i'
                                                                             nform ation is

       correct. If a furnisher chooses tbis course of action, whether they have acted

       reasonably willtm n on whetherthe fm nisher acqe ed sllo cientevidence to support

       the conclusion thatthe inform ation w as true.

             The second w ay a fm xlisher can satisfy the Fair Crei t Reporting Act is to

       conductan investigation and conclude,based on thatinvestigation, thatthe disputed

       inform ation is tm verG able. FurG shers can availthem selves ofthis option ùf they

       determ ine thatthe ed dence necessary to vemf
                                                   'y disputed inform ation either does not

       exist or is too bm densom e to acqllime. The furnisher m ust then notify the Credit

       ReportingA gency thatthe inform ation carm otbe verG ed The question ofw héther a
                                                                .




       furnisheracted reaéonably tm dertakingtM s com se ofaction w illtttrn on whetherthe

       furnisher reasonably determ ined that investigation w ould be tA ttitless or unduly

       bm densom e.




                                               15
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 16 of 23


W                                         A ctualD am ages

                The PlaintA claim sthatthe Defendant'sfailtu'eto com ply w ith the Fair Credit

       Reporting Act caused him actualdam ages.

                In order to recover dam ages,plaintx need only show by the greaterw eight of

       the evidence thatthe Defendant's failm e to comply with the Fai.
                                                                      r CreditReporting
       A ctw as a substantialfactor in causing his dam ages.ThesYPlainte need notprove that

       the D efendant's failure to com ply w as the sole cause ofhis dam ages.   -.
           '< <
                w   .

               Actualdam ages include out ofpocket dam ages,such as econom ic loss,dezlial
                                                                   *G        w
                                                                                      N   . .   N

       ofcredit,lostopportunity to receive credit,aswellas,m ore am orphous dam ages such

       as dam age to reputation, interterence with norm al and usual activities, and
       em ptionaldistress.




                                                 16
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 17 of 23



                     D am ages for W illfulV iolation ofthe FCRA

         Any person w ho willfnally W olates the FC'RA with respect to any consllm er is

   liable to thatconsum erin an am ount equalto the sum of:(1)àny actualdam ages
   sustaG ed by the consxzmerorstatutory dam agesofnotlessthan $100 and notm ore
   than $1,000; and, (2) such am ount of punitive dam ages as you believe to be
   appropriate.




                                           17
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 18 of 23


W                                      Punitive D am ages

              Ifyou Snd.the Defendant'sviolation oftheFCRA w aswi/ful,you m ay, butare

       not requized to,aw ard punitive dam ages. The purposesofpuG tive dam ages are to

       punish the D efendant and to deter sim ilar actsi,
                                                        n the futm e.Punitive dam ages m ay

       notbe aw u ded to com pensate a plainte .The Plaintx hasthebm den ofproving that

       punitive dam ages shotlld be aw arded,and,ifso,the am ount ofany such dam ages.

             You m ay aw ard punitive dam agesoaly ifyou fm d thattheD efendanfsconduct

       that harm ed the Plaintif w as m aticious,oppressive or in reckless disregard ofthe

       PlaintsW srights. Conductism aliciousifit is accom paG ed by i'
                                                                     ilw ill,or spite,o:
                                                                                       rifit

       is for the purpose ofinjuring the Plaintiff.Conductisin reckless disregard ofthe
       Plainte s l'ights if,under the circum stances,it refects com plete indifference to the

       Plaintx ssafety orrights,orifthe Defendantactsin the face ofa perceived risk that

       its actions willviolate the Plaintx s rights Axnder federallaw .An act or om ission is

       oppressiveiftheDefendantinjm esordam agesorotherwiseviolatestherightsofthe
       Plnintiffwith unnecessary harshness or severity, such as by the m isuse or abuse of

       authority or pow er or by the tnksng advantage of som e w eakness or disability or

       m isfortune ofthe Plainte .

             If you f-
                     nd that punitive dam ages are appropriate,you m ust use reason in

       setting the am ount.Puzlitive dam ages,ifany,shottld be in an am ount suo cient to

       641611thei'rpurposes but sho'
                                   uld not resect bias, prejudice or sm pathy toward any

       pazty.In considering the am ount of any punitive dam ages,consider the degzee of

       reprehensibility ofthe D efendant's conduct.This includes w hether the conduct that


                                                18
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 19 of 23


K      hazm ed the Plnintif w as particG arly reprehensible because it also caused actual

       harm or posed a substantialrisk ofhatm to people who are notparties to this case.

       You m ay not,how ever,set the am ount ofany punitive dam ages in order to punish

       the D efendantfor harm to anyone other than the Plaintx in tM scase.




                                             19
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 20 of 23


K                                     D uty to D eliberate

             Of cottrse,the fact that Ihave given you instructions concerning the issue of

       M r.Ram ones'dam ages shottld not be interpreted in any way as an indication thatI

       beheve thathe should,or should not,prevailin tllis case.

             Yom verdict m ust be unaG m ous - in other w ords,you m ust all agree. Yotlr

       deliberations are secret,and you'llneverhave to explain yom vexdictto anyone.

             Each ofyou m ust decide the case foz'yom self,'but only after '
                                                                           hllly considering

       the evidencewith the otheTjm ors. So,you m ustdiscussthe case with one another
       and try to reach an ar eem ent. W hile you're discussing the case,don't hesitate to

       reexam ine yom ow n opiaion and changeyom m ind ifyou becom e cone ced thatyou

       were wTong. But don't give up yom .honest beliefs just because others tbirk
       diserently orbecause you sim ply w antto getthe case overw ith   .




             Rem emberthat,in a very realway,you/re judges- judgesofthe facts. Youi
       only interestisto seek the truth 9om the evidence in the case.




                                               20
Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 21 of 23



                  Election ofForeperson;Explanation ofV erdict Form

         s7hen you get to the jury roora,choose one of your naenlbers to act as a
   foreperson. The foreperson willdirectyom deliberations and willspeak foryou in
   com t.

         A verdictform hasbeen prepared foryourconveu ence.
                                                   .




                       (Explnin verdict.q
         Take the verdictfori with you to the jtu'y room . W hen you've allagreed on
   the verdict,yom foreperson m ust fzllin the form ,sig'
                                                        n it and date it Then,you'll
                                                                          .




   retm n itto the courtroom .

         If you w ish to com m u icate with m e at any tM e,please write down yottr

   m essage orquestion and g'
                            ive ittothe com .tsecurity oo cer.The courtsecmlity oo cer

   w illbring itto m e and r11respond as prom ptly as possible - either in w riting or by

   talkipg to you in the courtroom . Please tm derstand that I m ay have to talk to the

   law yers and the partiesbefore 1 respond to yom question or m essage, so you should

   be patient as you await m y response. But I caution you not to tell m e how m any'

   jm orshavevoted oneway ortheotheratthatti>e.TkattypeofM orm ation should
   rem nim in thejury room and notbe shared with anyone,including m e,in you.
                                                                            r note
   or question.




                                            21
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 22 of 23


K                      IN TH E U M TED STA TES DISTRICT CO U R T
                      F OR TH E SO U TH ER N D ISTR ICT O F FLOR ID A
                               FT.LAU DER D M E D IW SIO N

       FRANCISCO JAW ER PEREZ RAM ONES,
                          Ialzdzltiff,                           0:19-cw 062949-R N S
                                                                        (SEITZ)
             M.

       AR RESUUR CES,IN C.,
                          D efendant.

                                         VER D ICT FO RM

             W e the Jury in the above-captioned m atter Snd as follow s:

             O uestion 1:

             Do you fm d that the Plaintx ,M r.Ram ones,proved that he sustained actual
       dam ages restûting 1 om the D efendanfs,AR Resom ces,failua.e to com ply with the
       Fair CreditReporting Act?

                         AN SM R: Yes         / xo     -




             lf your answ er to Question 1 is U es'',then you m ust detprm ine the
       nm ount ofactualdnm agesto be aw arded to M r.Ram ones.
             weassessactualdamagesinthea-ountof$ ld -ê#9
                                 '




             Q uestion 2:
             Do you fnd that the Plnintif,M r.Ram ones,proved thatthe Defendanfs,AR
       Resom ces,violation ofthe Fair CreditReporting Actw asw 7
                                                               'll'
                                                                  hll?

                         ANSWER: Yesx/              xo
             Ifyou answ ered <Y es''to Question 2 and answ ered <<No''to Question 1,
       then you m ustaw ard statutory dam agesto M.r.Ram onesofno lessthan $100
       and no m orethan $1,000.
             W eassessstatutotydamagesintheamotmtof$ -W
    Case 0:19-cv-62949-RNS Document 145 Entered on FLSD Docket 09/17/2021 Page 23 of 23


K
             Ifyou answ ered W es''to Question 2,then you m ustalso determ ine the
       nm ount ofpunitive dam ages to be aw arded to M r.R am ones,if any.

             weassesspunitivedamagesintheamountof$' C; efD
            O nce you have reached a V erdict you should have the foreperson sig'n
       and date this V erdict Form , below , and notify the Court that you have
       reached a verdict.


             SO SAY W E M L,this        day ofSeptem ber 2021.




             FOREPERSON SIGN ATU RE



             FOREPERSON PRIN TED NAM E
